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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      ABANTE ROOTER AND PLUMBING
                                         INC, et al.,                                    Case No. 20-cv-05893-PJH
                                  8
                                                       Plaintiffs,
                                  9                                                      ORDER OF DISMISSAL
                                                 v.
                                  10                                                     Re: Dkt. No. 11
                                         CHAMPION SOLUTIONS, INC.,
                                  11
                                                       Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14          The parties hereto, by their counsel, having advised the court that they have

                                  15   agreed to a settlement of this case, IT IS HEREBY ORDERED that this case is dismissed

                                  16   without prejudice; provided, however that if any party hereto shall certify to this court,

                                  17   within sixty days, with proof of service thereof on the opposing party, that the agreed

                                  18   consideration for said settlement has not been delivered over, the foregoing order shall

                                  19   stand vacated and this case shall forthwith be restored to the calendar to be set for trial.

                                  20          If no certification is filed, after passage of sixty days, the dismissal shall be with

                                  21   prejudice. The parties may, of course, substitute a dismissal with prejudice at any time

                                  22   during this sixty day period. The court shall retain jurisdiction to enforce this order until

                                  23   October 20, 2021.

                                  24          IT IS SO ORDERED.

                                  25   Dated: October 20, 2020

                                  26                                                 /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  27                                                 United States District Judge
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